      AO 91 (Rev. 11/11) Criminal Complaint


                                           UNITED STATES DISTRICT COURT
                                                                    for the

                                                     Eastern District of North Carolina

                        United States of America                       )
                                   V.                                  )
                     Jose Guillermo Leiva-Galvan
                                                                       )      CaseNo.' 5 •.      2D-V\I\J- I 1) 1-JC1
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                                Defendant(s)


                                                     CRIMINAL COMPLAINT
                I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
      On or about the date(s) of               December 23, 2019              in the county of          New Hanover             in the
            Eastern          District of       North Carolina      , the defendant(s) violated:

                  Code Section ·                                                 Offense.Description
      8 U.S.C. § 1326(a)&(b)(2}                     The defendant, an alien, was found in the United States after having
                                                    previously been.denied admission, excluded, deported and removed from the
                                                    United States after an aggravated felony conviction on June 4, 2018, at
                                                    Columbus, Georgia, and not having obtained the express consent of the
                                                    Attorney General, or his successor, the Secretary of Homeland Security, to
                                                    reapply for admission thereto, in violation of 8 U.S.C. § 1326(a}&(b)(2).



                This criminal complaint is based on these facts:

      please see attached affidavit




                if Continued on the attached sheet.



      On this day, Robert Ulrey                                                        Robert Ulrey, Deportation Officer, ICE
                                                                                                  Printed name and title
      appeared before me via reliable electronic means, was
      placed under oath, and attested to the contents
      of this Complaint.
      Date:    lH J1t". i,l> vO
      City and state:                    Raleigh, North Carolina                     JAMES E. GATES, U.S. Magistrate Judge
                                                                                                  Printed name and title




GJD                      Case 7:20-cr-00030-BO Document 1 Filed 01/29/20 Page 1 of 4
                  IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                                     AFFIDAVIT

      1. I, Robert Ukey, having been duly sworn, do hereby depose and state: I am a

Deportation Officer with the Department of Homeland Security, Immigration and

Customs Enforcement (ICE), formerly known as the Immigration and Naturalization

Service (INS), assigned to the Raleigh, North Carolina office. I began my federal law

enforcement career with ICE on April 1st, 2007. My duties routinely include the

investigation of violations of the federal criminal statutes concerning immigration

offenses, including the reentry of previously removed aliens into the United States.

      2. This affidavit is submitted as evidence of probable cause supporting the

arrest warrant for Jose Guillermo Leiva-Galvan, (here after referred to as "LEIVA")

for reentry of a previously deported alien convicted of an aggravated felony in violation

of Title 8 U.S.C. § 1326(a) & (b)(2). This affidavit does not set forth all information

known to your affiant about this case and is being submitted for the purpose of

providing sufficient information to establish probable cause.

      3. In the course of investigating this matter, I have obtained information

through law enforcement channels and the official Alien File (A-File) numbered A209

011 759. This file is maintained in the name of Jose Guillermo Leiva-Galvan and

contains this individual's biographical information, family history, records of

encounters with ICE, conviction records, photographs and :fingerprints. Based on the

review of this A-File, I have concluded that it does in fact pertain to the defendant in




      Case 7:20-cr-00030-BO Document 1 Filed 01/29/20 Page 2 of 4
this matter. The A-File reflects the following information relative to this individual:

   a) LEIVA is a citizen and national of Honduras.

   b) His date of birth is XXXXX XX, 1985, and his name is correctly reflected in this

      affidavit and the complaint to which it is attached.

   c) On February 27, 2016 LEIVA was encountered by ICE in the New· Hanover

      County jail subsequent a local arrest. He was determined to be unlawfully

      present in the United States.

   d) On February 16, 2017 LEIVA was convicted in New Hanover County Superior

      Court of thirteen felony counts of breaking and entering and twelve counts of

      felony larceny.

   e) On April 27, 2018, LEIVA was served with a Notice of Intent to Issue a Final

      Administrative Order and on 11ay 4, 2018 a Final Administrative Order was

      issued by a designated official in Lumpkin, Georgia.

   f) On June 04, 2018, LEIVA was warned of the penalties of reentry and removed

      to Honduras from_Columbus, Georgia.

   g) LEIVA, of his own volition, reentered the United States on or after June 04, 2018

      and did so without obtaining the express consent of the Attorney General, or

      his successor the Secretary of Homeland Security, to reapply for admission.

   4. A search of ICE databases reveals that LEIVA did not seek permission of the

   United· States Attorney General to re-enter as required by 8 U.S.C. § 1360(d).

       5. On December 21, 2019, LEIVA was arrested by the New Hanover County

Sheriff's Office, in Clinton, NC, and charged with driving while impaired. A complete
(JPJ




      Case 7:20-cr-00030-BO Document 1 Filed 01/29/20 Page 3 of 4
set of fingerprints taken subsequent to that a1Test were submitted to FBI and ICE

databases resulting in a positive biometric match for a previously removed alien.

LEIVA was able to post bond on the local charges before ICE could lodge an

immigration detainer,

         6. LEIVA was arrested by ICE on January 21, 2020. LEIVA is cU1Tently in the

custody of! CE.

         7. Based on all of the foregoing, I, Robert Ulrey, believe that there is ample

probable cause to conclude that Jose Guillermo Leiva-Galvan is in fact guilty of illegal

reentry into the United States of a convicted aggravated felon, previously removed, in

violation of Title 8 U.S.C. § 1326(a) & (b)(2), and respectfully ask that the Court issue

a warrant ordering his arrest for such crime.

         Further your Affiant sayeth not.




                            Deportation Officer
                            Immigration & Customs Enforcement



On this   _2ft_day of January 2020 Deportation Officer Robert Ulrey appeared before
me via reliable electronic means, was placed under oath, and attested to the contents
of this affidavit.




United States Magistrate Judge
Eastern District of North Carolina
(j.72)




         Case 7:20-cr-00030-BO Document 1 Filed 01/29/20 Page 4 of 4
